      Case 3:20-cv-01534-CSH Document 8 Filed 11/12/20 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )              Civil Action No: 3:20-cv-01534-CSH
                                    )
YALE UNIVERSITY,                    )
                                    )
                  Defendant.        )
___________________________________ )

               THE UNITED STATES’ RESPONSE TO THE
    MOTION TO INTERVENE BY STUDENTS FOR FAIR ADMISSIONS, INC.

       Plaintiff United States of America has no opposition to the Motion to Intervene

filed by proposed-intervenor Students for Fair Admissions, Inc.

 Dated: November 12, 2020                        Respectfully submitted,

                                                 ERIC S. DREIBAND
                                                 Assistant Attorney General
                                                 Civil Rights Division

.                                                JOHN B. DAUKAS
                                                 Principal Deputy Assistant Attorney General
                                                 Civil Rights Division

                                                  /s/ Jeffrey Morrison
                                                 SERAJUL F. ALI (PHV10883)
                                                 MATTHEW J. DONNELLY (PHV10507)
                                                 GENEVIEVE M. KELLY (PHV10884)
                                                 JEFFREY G. MORRISON (PHV10881)
                                                 Trial Attorneys
                                                 United States Department of Justice
                                                 950 Pennsylvania Avenue, NW
                                                 Washington, DC 20530
                                                 Telephone: (202) 353-1845
                                                 Facsimile: (202) 514-1005
                                                 E-mail: jeffrey.morrison@usdoj.gov
                                           1
      Case 3:20-cv-01534-CSH Document 8 Filed 11/12/20 Page 2 of 2




                                                  JOHN H. DURHAM
                                                  United States Attorney
                                                  District of Connecticut

                                                  JOHN B. HUGHES
                                                  Civil Chief
                                                  United States Attorney’s Office
                                                  District of Connecticut
                                                  157 Church Street, 25th Floor
                                                  New Haven, Connecticut 06510
                                                  john.hughes@usdoj.gov

                                                  Attorneys for Plaintiff
                                                  United States of America

                            CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically filed with the Court causing
same to be served electronically via the Court’s CM/ECF system upon proposed-
intervenor’s counsel:

J. Michael Connolly (CT29695)
CONSOVOY MCCARTHY PLLC
1600 Wilson Boulevard, Suite 700
Arlington, VA 22209
(703) 243-9423
mike@consovoymccarthy.com

I also certify that I am providing a true and accurate copy to counsel for Defendant Yale
University as indicated in its waiver of service:

Peter S. Spivack
Hogan Lovells US LLP
Columbia Square
555 Thirteenth Street, NW
Washington, DC 20004
Peter.spivack@hoganlovells.com
(202) 637-5631
                                           /s/ Jeffrey Morrison
                                           Jeffrey Morrison




                                             2
